                                                                                   Motion GRANTED.
                                                                                   Hearing RESET for
                                                                                   4/11/14 at 3:00 p.m.


                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )       Case No. 3:03-00117
                                              )       Judge Trauger
                                              )
CLAYTON S. RICHARDSON                         )


            MOTION TO CONTINUE HEARING ON PETITION TO REVOKE
                          SUPERVISED RELEASE

       COMES NOW the Defendant, Clayton S. Richardson, by and through his undersigned

counsel, and respectfully requests that this Honorable Court enter an order continuing the hearing on

the Superseding Petition to Revoke Supervision (Docket Entry 228) from Thursday, March 20, 2014

at 2:00 p.m., to a later date convenient to the Court and counsel, after April 10, 2014. In support

hereof, Defendant states as follows:

       1.      The final revocation hearing is currently scheduled for Thursday, March 20, 2014 at

2:00 p.m. (Docket Entry 232). The Defendant was arrested on the revocation warrant on March 2,

2014 and was released after a detention and preliminary hearing on March 12, 2014.

       2.      One of the allegations in the Superseding Petition arises out of a Davidson County

General Sessions Court “sworn out” warrant (a citizen complaint without police investigation)

alleging aggravated burglary. This morning, Davidson County General Sessions Judge Casey

Moreland set this warrant for a hearing on Thursday, April 10, 2014 at 9:00 a.m. Undersigned




                                                  1


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